12:06 P.M.

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Appeal Docket Sheet
Docket Number: 615 WDA 2022

Superior Court of Pennsylvania

 

 

 

Page 1 of 2
Secure
May 26, 2022
CAPTION
Christine Biros
Vv.
U Lock Inc.
Appellant
ma, - CASE INFORMATION
initiating Document: Notice of Appeal
Case Status: Active
Case Processing Status: May 26, 2022 Awaiting Original Record
Journal Number:
Case Calegory: Civil Case Type(s): Declaratory Judgment
“CONSOLIDATED CASES RELATED CASES
Docket No / Reason Type
607 WDA 2022 Related
Same !ssue(s)
617 WDA 2022 Related
Same Issue(s} ,
Abies gloi7
SCHEDULED EVENT -
Next Event Type: Receive Docketing Statement Next Event Due Date: June 9, 2022
Next Event Type: Original Record Received Next Event Due Date: July 22, 2022
a COUNSEL INFORMATION
Appellant U Lock Inc.
Pro Se: No Appoint Counsel Status: Represented
IFP Status: No
Attorney: Roth, John Allen
Bar No: 030347 > 33
PACFile Registered: Yes = A 5
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Latrobe, PA 15650 i = ean
Phone No: (724) 537-0939 Fax No: Fe ' oe
Receive Mail: Yes Wks Bag
Receive EMail: Yes EMail Address: lawmatters@yahoo.com ze. DU 3a
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Appeal Docket Sheet
Docket Number: 615 WDA 2022
Page 2 of 2
May 26, 2022
~ COUNSEL INFORMATION

Appellee Biros, Christine

Pro Se: No Appoint Counsel Status: Represented
\FP Status: No

Attorney: Otto, William E.

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FEE INFORMATION

Fee Dt Fee Name

Secure

Fee Amt Receipt Dt Receipt No

Superior Court of Pennsylvania

 

Receipt Amt

 

05/26/2022 Notice of Appeal

Order Appealed From: May 17, 2022
Order Type: Order Entered
Documents Received: May 26, 2022

90.25 05/26/2022 2022-SPR-W-000355 90.25

AGENCY/TRIAL COURT INFORMATION
Notice of Appeal Filed:

May 23, 2022

 

 

 

 

Court Below: Westmoreland County Court of Common Pleas
County: Westmoreland Division: Westmoreland County Civil Division
Judge: Smail, Harry F. OTN:
Docket Number: — 17 CJ 04886 Judicial District: 10
: ORIGINAL RECORD CONTENT
Original Record Item Filed Date Content Description
Date of Remand of Record:
BRIEFING SCHEDULE
None None
DOCKET ENTRY
Filed Date Docket Entry / Representing Participant Type Filed By
May 26, 2022 Notice of Appeal Docketed
Appellant U Lock Inc.

May 26, 2022 Docketing Statement Exited (Civil)

Superior Court of Pennsylvania
